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      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                     CENTRAL DIVISION


 JOSE MORENO, Individually and On                     ORDER TO PROPOSE SCHEDULE
 Behalf of All Others Similarly Situated,

                Plaintiff,
                                                       Case No. 2:18-cv-00510-JNP-PMW
 v.

 POLARITYTE, INC.; DENVER LOUGH;
 and JEFF DYER,                                           District Judge Jill N. Parrish

                Defendants.                         Chief Magistrate Judge Paul M. Warner


       To secure the just, speedy, and inexpensive determination of every action and proceeding

and fulfill the purposes of Rules 16 and 26 of the Federal Rules of Civil Procedure, IT IS

HEREBY ORDERED:

       1.      Plaintiff must propose a schedule to Defendant in the form of a draft Attorney

               Planning Meeting Report within the earlier of fourteen (14) days after any

               Defendant has appeared or twenty-eight (28) days after any Defendant has been

               served with the complaint.

       2.      Within the earlier of twenty-eight (28) days after any Defendant has appeared or

               within forty-two (42) days after any Defendant has been served with the complaint

               (or such other time as the court may order), the parties shall meet and confer and

               do one of the following:
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      a.     File a jointly signed Attorney Planning Meeting Report and also e-mail a

             stipulated Proposed Scheduling Order in word processing format to

             ipt@utd.uscourts.gov; or

      b.     If the parties cannot agree on a Proposed Scheduling Order, Plaintiff must

             file a jointly signed Attorney Planning Meeting Report detailing the nature

             of the parties’ disputes and must also file a stipulated Motion for Initial

             Scheduling Conference; or

      c.     If the parties fail to agree on an Attorney Planning Meeting Report or on a

             stipulated Motion for Initial Scheduling Conference, Plaintiff must file a

             Motion for Initial Scheduling Conference, which must include a statement

             of Plaintiff’s position as to the schedule. Any response to such a motion

             must be filed within seven (7) days.

3.    In the absence of filing a stipulated Proposed Scheduling Order, the parties must

      be prepared to address the following issues, in addition to those raised by the

      Attorney Planning Meeting Report:

      a.     What 2-3 core factual or legal issues are most likely to be determinative of

             this dispute?

      b.     Who are the 1-3 most important witnesses each side needs to depose? Is

             there any reason these witnesses cannot be deposed promptly?

      c.     What information would be most helpful in evaluating the likelihood of

             settlement? Is there any reason it cannot be obtained promptly?

      d.     Briefly describe the crucial facts, primary claims, and primary defenses.


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      e.     Are all claims for relief necessary or are they overlapping? Can any claim

             for relief be eliminated to reduce discovery and expense?

      f.     Are all pleaded defenses truly applicable to this case? Can any be

             eliminated?

      g.     What could be done at the outset to narrow and target the discovery in this

             case?

      h.     What agreements have the parties reached regarding limitations on

             discovery, including discovery of ESI?

      i.     Is there a need to schedule follow-up status conferences?

4.    Each party shall make initial disclosures within forty-two (42) days after the first

      answer is filed. This deadline is not dependent on the filing of an Attorney

      Planning Meeting Report, the entry of a Scheduling Order, or the completion of an

      Initial Scheduling Conference.

5.    The parties are urged to propose a schedule providing for:

      a.     Fact discovery completion no more than six (6) months after the filing of

             the first answer.

      b.     Expert reports from the party with the burden of proof on that issue

             twenty-eight (28) days after the completion of fact discovery, and

             responsive reports twenty-eight (28) days thereafter.

      c.     Expert discovery completion twenty-eight (28) days after filing of an

             expert’s report.




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       d.     Dispositive motion filing deadline no more than ten (10) months after the

              filing of the first answer.

IT IS SO ORDERED.

DATED this 31st day of July, 2018.

                                     BY THE COURT:




                                     PAUL M. WARNER
                                     Chief United States Magistrate Judge




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